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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PACER FEE EXEMPTIONS                        )
                                                   )
                                                   )      Misc. No. 09-239
ALEJANDRO ARREDONDO,                               )
                                      Movant.      )


                                        ORDER

       This matter is before the Court upon the application and request by Alejandro

Arredondo (“Arredondo”) for exemption from the fees imposed by the Electronic Public

Access fee schedule adopted by the Judicial Conference of the United States Courts (ECF

No. 50).

       This Court finds that Arredondo is an individual researcher associated with an

educational institution and, therefore, falls within the class of users listed in the fee

schedule as being eligible for a fee exemption. Additionally, Arredondo demonstrated

that an exemption is necessary in order to avoid unreasonable burdens and to promote

public access to information.

      Accordingly, Arredondo shall be exempt from the payment of fees for access via

the Public Access to Court Electronic Records system (the “PACER System”) to the

electronic case files maintained by this Court, to the extent such use is incurred in the

course of the defined academic research project described in the Application for Multi-

Court Exemption from the Judicial Conference’s Electronic Public Access Fees (the

“Application”) (ECF No. 50). The Court finds that the research project described in the
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Application is intended for scholarly research and is limited in scope. Arredondo shall

not be exempt from the payment of fees incurred in connection with other uses of the

PACER System in this Court. Additionally, the following limitations apply:

      1) This fee exemption applies only to Arredondo and is valid only for the

         academic research project described in the Application;

      2) This fee exemption applies only to the electronic case files of this Court

         that are available through the PACER System;

      3) By accepting this exemption, Arredondo agrees not to sell for profit any

         data obtained as a result of receiving this exemption;

      4) Arredondo is prohibited from transferring any data obtained as a result of

         receiving this exemption, including redistribution via Internet-based

         databases. This prohibition does not prevent Arredondo from relying upon

         the data obtained as a result of receiving this exemption in or in connection

         with the scholarly project described in the Application;

      5) This exemption is valid until March 1, 2021.

       This exemption may be revoked at the discretion of the Court at any time. The

Clerk of Court of the United States District Court for the Western District of




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Pennsylvania, or his designee, may periodically review the usage of Arredondo’s exempt

PACER System account during the term of this exemption.



Dated: October 21, 2020                               BY THE COURT:


                                                      /s/ Mark R. Hornak
                                                      Mark R. Hornak
                                                      Chief United States District Judge


cc:   PACER Service Center (via email)
      Administrative Office of the United States Courts,
       Multi-Court Exemptions Office (via email)
      Alejandro Arredondo (via email)




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